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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SOLAS OLED LTD.                                §
                                               §
       v.                                      §
                                                       Case No. 2:19-cv-152-JRG
                                               §
SAMSUNG DISPLAY CO., LTD. ET AL                §


              MINUTES FOR INTERIM PRETRIAL CONFERENCE
              BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               September 9, 2020
OPEN: 10:27 a.m.                                      ADJOURN: 2:15 p.m.

 ATTORNEYS FOR PLAINTIFF:                          See attached.

 ATTORNEYS FOR DEFENDANTS:                         See attached.

 LAW CLERKS:                                       Will Nilsson
                                                   Taylor Mauze

 COURT REPORTER:                                   Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                                 Jan Lockhart

 Time       Minutes
 10:27 a.m. Court opened. The Court addressed claim construction issues raised prior day. Mr.
             Mirzaie argued for Plaintiff. Mr. Lerner argued for Defendants.
 10:57 a.m. The Court ruled on the claim construction issues in the manner and for the reasons set
             forth on the record.
 11:01 a.m. The Court heard argument on Solas’s Motion to Strike Portions of the Expert Report
             of Christopher Martinez (Dkt. No. 136). Mr. Hoffman argued on behalf of Plaintiff.
             Mr. Lerner argued on behalf of Defendants. The Court GRANTED-IN-PART and
             DENIED-IN-PART the motion for the reasons set forth on the record at the hearing.
 11:22       The parties rested on the papers on the Solas’s Motion to Strike Expert Opinions
             Concerning Noninfringing Alternatives (Dkt. No. 135). The Court DENIED the
             motion for the reasons set forth on the record.
             Defendants’ Motion for Summary Judgment of No Willfulness (Dkt. No. 141). The
             Court DENIED the Motion.
 11:27 a.m. Recess until 12:30 p.m.
 12:42 p.m. The Court addressed the Joint Sealed Patent Motion in Limine by Samsung Display
             Co., Ltd., Samsung Electronics America, Inc., Samsung Electronics Co., Ltd. (Dkt.
             No. 225)
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 Time       Minutes
 12:43 p.m. Solas’s Motion in Limine No.1 re Accused Products and Claims. Mr. Mirzaie argued
             on behalf of Plaintiff. The parties reached agreement as to nonasserted infringement
             theories. No longer accused products and no longer asserted claims. Mr. Lerner argued
             on behalf of Defendants. The Court GRANTED the Motion.
             Solas’s Motion in Limine No. 2 re Background Prior Art. Mr. Rubin argued on behalf
             of Plaintiff. Mr. Haslam argued on behalf of Defendants. The Court DENIED the
             Motion in Limine.
             Solas’s Motion in Limine No. 3 re Defendants’ patents. Mr. Rubin argued on behalf
             of Plaintiff. Mr. Haslam argued on behalf of Defendants. The Court GRANTED the
             Motion in Limine. The Court CARRIED any request for leave to go into Defendants’
             Solas’s Motion in Limine No. 4 re Acquisition of Asserted Patents. Ms. Henry argued
             on behalf of Plaintiff. Mr. Gillam argued on behalf of Defendants. The Court
             GRANTED the Motion in Limine as agreed.
             Solas’s Motion in Limine No. 5 re Solas Financing. Ms. Henry argued on behalf of
             Plaintiff. Mr. Gillam argued on behalf of Defendants. The Court GRANTED the
             Motion in Limine as agreed.
             Solas’s Motion in Limine No. 6 re Sierros Errata. Mr. Mirzaie argued on behalf of
             Plaintiff. Mr. Haslam argued on behalf of Defendants. This Motion in Limine was
             WITHDRAWN.
             Solas’s Motion in Limine No. 7 re Solas Business Model. Ms. Henry argued on behalf
             of Plaintiff. Mr. Gillam argued on behalf of Defendants. The Court GRANTED the
             Motion in Limine as agreed.
             Solas’s Motion in Limine No. 8 re Noncomparable Licenses. Mr. Hoffman argued on
             behalf of Plaintiff. Mr. Lerner argued on behalf of Defendants. The Court
             GRANTED the Motion in Limine as agreed.
             Solas’s Motion in Limine No. 9 re Cost Document. Mr. Hoffman argued on behalf of
             Plaintiff. Mr. Lerner argued on behalf of Defendants. The Court GRANTED the
             Motion in Limine as agreed.
             Solas’s Motion in Limine No. 10 re Noninfringing Alternatives. Mr. Buczko argued
             for Plaintiff. Mr. Lerner argued on behalf of Defendants. This Motion in Limine was
             WITHDRAWN.
             The parties agreed to Solas’s Motion in Limine No. 11 re Equitable Defenses. This
             Motion in Limine was GRANTED as agreed.
             Defendants’ Motion in Limine No. 1 re Noninfringing Alternatives. Mr. Lerner argued
             on behalf of Defendants. Mr. Buczko argued on behalf of Plaintiff. The Court
             DENIED the Motion in Limine.
             Defendants’ Motion in Limine No. 2 re Holding Transistor. Mr. Haslam argued on
             behalf of Defendants. Mr. Rubin argued on behalf of Plaintiff. This Motion in Limine
             was WITHDRAWN.
             Defendants’ Motion in Limine No. 3 re Secondary Considerations. Mr. Cho argued
             on behalf of Defendants. Mr. Rubin argued on behalf of Plaintiff. The Court DENIED
             the Motion in Limine.
             The Court heard argument on Defendants’ Motion in Limine No. 4 re Discovery
             Disputes Mr. Gillam argued for Defendants. Mr. Hoffman argued on behalf of
             Plaintiff. The Court GRANTED the Motion in Limine.


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 Time        Minutes
              Defendants’ Motion in Limine No. 5 re Burden of Proof. The Court GRANTED the
              Motion in Limine as AGREED. Mr. Cho read the parties’ agreement into the record.
              Defendants’ Motion in Limine No. 6 re Documents Not Tied to Accused Products.
              Mr. Lerner argued on behalf of Defendants. Mr. Buczko argued on behalf of Plaintiff.
              The Court GRANTED the Motion in Limine.
              Defendants’ Motion in Limine No. 7 re Atmel. Mr. Haslam argued on behalf of
              Defendants. Mr. Hoffman argued on behalf of Plaintiff. The Court DENIED the
              Motion in Limine.
              Defendants’ Motion in Limine No. 8 re ‘311 Claim Construction. Mr. Haslam argued
              on behalf of Defendants. Mr. Mirzaie argued on behalf of Plaintiff. This Motion in
              Limine was WITHDRAWN.
              Defendants’ Motion in Limine No. 9 re UDC License. Mr. Lerner argued on behalf
              of Defendant. Mr. Hoffman argued on behalf of Plaintiff. The Court DENIED the
              Motion in Limine.
              The parties reached agreement with regard to Defendants’ Motion in Limine No. 10.
              The Court GRANTED the Motion in Limine as AGREED.
              Defendants’ Motion in Limine No. 11 re Opinions of Counsel. The parties reached
              agreement. The Court GRANTED the Motion in Limine as AGREED.
              Defendants’ Motion in Limine No. 12 re Unrelated Legal Proceedings. The parties
              reached agreement. The parties reached agreement. The parties reached agreement.
              The Court GRANTED the Motion in Limine as AGREED.
              Defendants’ Motion in Limine No. 13 re Presumption of Validity. The parties reached
              agreement. The Court GRANTED the Motion in Limine as AGREED.
              The Court will hold a hearing on remaining disputed exhibits on September 28, 2020.
              Hearing will be held in Magistrate Judge courtroom.
              Mr. Haslam requested that the Defendants be allowed to file a supplement to the expert
              report. Counsel for Mr. Rubin objected. The Court ORDERED the filing of a motion
              to supplement.
 2:15 p.m.    Court adjourned.




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